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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK


   PRECISION ASSOCIATES, INC.;                       Case No.: 08-CV-00042 (BMC) (PK)
   ANYTHING GOES LLC d/b/a MAIL
   BOXES ETC., and JCK INDUSTRIES,                    NOTICE OF MOTION AND MOTION
   INC., on behalf of themselves and all               FOR SECOND DISTRIBUTION OF
   others similarly situated,                             SETTLEMENT FUNDS AND
                                                       REIMBURSEMENT OF EXPENSES
                          Plaintiffs,
          v.

   PANALPINA WORLD TRANSPORT
   (HOLDING) LTD., et al.,

                          Defendants.


  TO THE COURT AND ALL COUNSEL OF RECORD:

         PLEASE TAKE NOTICE that Plaintiffs’ Co-Lead Counsel will respectfully move this

  Court, before the Honorable Brian M. Cogan, United States District Court Judge, in Courtroom

  8D at the United States District Courthouse, 225 Cadman Plaza East, Brooklyn, New York

  11201 on July 20, 2020, at 9:00am, for an order:

         a) Approving Plaintiffs’ Motion for Second Distribution of Settlement Funds to

               Qualified Claimants; and

         b) Awarding reimbursement of litigation expenses totaling $1,719,298.10.

         Co-Lead Counsel for Plaintiffs has provided a separate proposed order regarding the

  requests above, and rely on the Memorandum of Law, Declarations and Exhibits in support

  thereof. Co-Lead Counsel respectfully request the Court grant Plaintiffs’ motion. Plaintiffs do

  not request oral argument.
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  Dated: July 15, 2020                Respectfully submitted,

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                                      Interim Co-Lead Counsel for Plaintiffs




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